Case 6:17-cv-00278-.]A-KRS Document 38 Filed 09/06/17 Page 1 of 1 Page|D 741
Case 6:17-cv-00278-JA-KRS Document 37 Filed 09/05/17 Page 1 of 2 Page|D 739

AO 44| (Rev. 07/10) Summons on Third-Party Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

ABDULLAH RABBAT.
Plaintijf
V.
COV|NGTON SPEC|ALTY lNSURANCE CO|V|F’ANY
Dejéndant, Third-party plainn;@r

V.
ORANGE COUNTY SHER|FF'S OFF|CE
Th 1' rci-party defendant

Civil Action No. 6:17-cv-278-Or|-28KRS

\/\_/V\/\./\_/V

SUMMONS ON A THlRD-PARTY COMPLAINT

TOZ (Third- -parry defendanl' s name and address) O|'ange COUn'fy Shel`|ff'S OffiC€,
Sheriff Jerry L. Demings

2500W. Co|onia| Dr., Or|ando, FL 32804
(LEGAL DEPT)

A lawsuit has been filed against defendant COV|NGTON SPEC|ALTY, who as third- -party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff ABDULLAH F\’ABBAT

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or

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gilliam an s fe§ivr£?yes`a' ,‘i§§r?§%‘§hae?“i/Fd§§?§$e$,ri§sq., BuTLER valHMuLLER KATz cRA\G LLP, 400 N. Ashley Dr.,

Tampa, FL 33602; Phone: 813-281-1900; Emai|: wlewis@but|er.|ega|; cramey@but|er.|ega|; eservice@butler.|ega|

Asher Béllll?,§ 'S° q.,‘i?e§if£?a%%§h%§ha“l!l§ii%li$?é §§§S€£i‘ia “SYG‘F§L‘H€L rt%“ 4388 §%e?l&§§r§iree¢ suite 303
Hollywood, FL 33021, Phone 954-284-0900 Emai|: aper|in@flp|g.com; yaragon@flp|g.com; eservice@flp|g.com

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

A copy of the plaintiff’s complaint is also attached. You may - but are not required to - respond to it.

Date: 09/06/2017 "_` t ..-~». , ‘
CLERK 0F\q¥\ co URT `

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Signatu i:e pr Clerkbr Depu!y Clark; "

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